  AO 435Case 2:23-cv-00521-JRG-RSP Document 61 Filed 11/15/24                                                     Page 1 of 1 PageID #:
(Rev. /)
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                                                       495                                                          FOR COURT USE ONLY

                                                                                                                    DUE DATE:
                                                             TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                          2. PHONE NUMBER                    3. DATE
Erik Halverson                                                                   (415) 882-8238                     11/15/2024
4. '(/,9(5< ADDRESS25(0$,/                                                     5. CITY                            6. STATE         7. ZIP CODE
erik.halverson@klgates.com                                                       San Francisco                      CA                94111
8. CASE NUMBER                               9. JUDGE                                               DATES OF PROCEEDINGS
2:23-cv-00521-JRG-RSP                        Roy S. Payne                        10. FROM 11/15/2024            11. TO 11/15/2024
12. CASE NAME                                                                                      LOCATION OF PROCEEDINGS
Barco, Inc. et al v. Yealink (USA) Network Technology Co.,                       13. CITY Marshall              14. STATE TX
15. ORDER FOR
u APPEAL                                     u CRIMINAL                          u CRIMINAL JUSTICE ACT                 u BANKRUPTCY
u NON-APPEAL                                 u CIVIL                             u IN FORMA PAUPERIS                    u OTHER (Specify)
16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                    DATE(S)                         PORTION(S)                           DATE(S)
u VOIR DIRE                                                                      u TESTIMONY (Specify Witness)
u OPENING STATEMENT (Plaintiff)
u OPENING STATEMENT (Defendant)
u CLOSING ARGUMENT (Plaintiff)                                                   u PRE-TRIAL PROCEEDING (Spcy)
u CLOSING ARGUMENT (Defendant)
u OPINION OF COURT
u JURY INSTRUCTIONS                                                              u OTHER (Specify)
u SENTENCING                                                                     Motion Hearing                     11/15/2024
u BAIL HEARING
                                                                            17. ORDER
                            ORIGINAL                             ADDITIONAL
 CATEGORY           (Includes Certified Copy to     FIRST COPY                          NO. OF PAGES ESTIMATE                      COSTS
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           By signing below, I certify that I will pay all charges                         ESTIMATE TOTAL
                        (deposit plus additional).                                                                  $              0.00 0.00
18. SIGNATURE                                                                    PROCESSED BY
/s/ Erik Halverson
19. DATE                                                                         PHONE NUMBER
11/15/2024
TRANSCRIPT TO BE PREPARED BY                                                     COURT ADDRESS




                                                      DATE             BY
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